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                EXHIBIT 7




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February 12, 2022




Chief Judge Beryl A. Howell
United States District Court
District of Columbia
333 Constitution Avenue, N.W
Washington D.C., 20001

Dear Chief Judge Howell,


I am Heather Morgan's maternal grandmother. I am a retired school superintendent and currently serve
as a city clerk and administrator for the town where I live.


Heather's family moved one block away from me when she was old enough to start kindergarten. They
wanted Heather to grow up near her extended family. Family has always been very important to
Heather. We have been very close and have spent much time together over the years. Even after
moving away from the area as a young adult, we have often tal ked and texted on the phone. Whenever
she came home, we always visited and enjoyed our time together. I feel we have had a very special
relationship over the years.


I do not feel she is a flight risk because of the importance of her family and friends to her. When she has
had a problem or needed surgery, she has asked her parents to be t here for her. As an only child, she
has been very close to her parents and very dependent on their emotional support.


If I felt she were a flight risk, I would not have offered to help with bail if her parents could not have
managed it. She would never let her parents lose their home because of her. If she were a flight risk,
she had opportunity earlier and did not leave.

Respectfully.




Ca~               ~
Heather's Grandmother
